                                                                         John D. Fiero (CA Bar No. 136557)
                                                                     1   Kenneth H. Brown (CA Bar No. 100396)
                                                                         Maxim B. Litvak (CA Bar No. 215852)
                                                                     2   Miriam Manning (CA Bar No. 178584)
                                                                         PACHULSKI STANG ZIEHL & JONES LLP
                                                                     3   150 California Street, 15th Floor
                                                                         San Francisco, California 94111-4500
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                                                                         Facsimile: 415/263-7010
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                                                                                 mlitvak@pszjlaw.com
                                                                     7           mmanning@pszjlaw.com

                                                                     8   Attorneys for Matthew K. Babcock,
                                                                         Successor Plan Representative
                                                                     9                               UNITED STATES BANKRUPTCY COURT
                                                                    10                               NORTHERN DISTRICT OF CALIFORNIA
                                                                    11                                       SAN FRANCISCO DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12
                                                                         In re:                                                     Case No.: 08-31001 (TEC)
                                        SAN FRANCISCO, CALIFORNIA




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                                            ATTORNEYS AT LAW




                                                                                                                                    Chapter 11
                                                                    14   BDB MANAGEMENT, LLC
                                                                                                                                    ABBREVIATED NOTICE OF
                                                                    15                                                              ACCOUNTANT’S REQUEST FOR
                                                                                                        Debtor.                     REIMBURSEMENT OF FEES AND
                                                                    16                                                              EXPENSES INCURRED BETWEEN
                                                                                                                                    OCTOBER 11, 2011 AND MARCH 31,
                                                                    17                                                              2016

                                                                    18                                                              [NO HEARING DATE SET]

                                                                    19

                                                                    20        TO: THE HONORABLE THOMAS CARLSON, THE OFFICE OF THE UNITED
                                                                         STATES TRUSTEE, ALL PARTIES REQUESTING NOTICE PURSUANT TO
                                                                    21   BANKRUPTCY RULE 2002:
                                                                    22

                                                                    23            PLEASE TAKE NOTICE that Berkeley Research Group, LLC, the accountants (the

                                                                    24   “Accountants”) for the above captioned debtor, seek Court approval of the reimbursement of their

                                                                    25   fees and expenses incurred between October 11, 2011 to March 31, 2016 in the total amount of

                                                                    26   $83,961.53, representing $83,529.00 in fees and $432.53 in expenses. The range of services

                                                                    27   provided by the Accountants to the BDB Management, LLC (the “Debtor”) during this four and a

                                                                    28   half year time period includes, but is not limited to, the preparation and filing of all required


                                                                                                                             1                NOTICE OF REQUEST FOR COMPENSATION
                                                                     Case: 08-31001 59914/006
                                                                        DOCS_SF:90552.2 Doc# 265        Filed: 04/26/16     Entered: 04/26/16 13:55:55 Page 1 of 3
                                                                         supporting Schedules, Forms and documentation related to annual federal and state estate income
                                                                     1
                                                                         tax returns, preparation and review of supporting work papers used in conjunction with preparation
                                                                     2
                                                                         of federal and state income tax returns, correspondence with taxing authorities and response to
                                                                     3
                                                                         creditor inquiries regarding tax matters, preparation of quarterly post-confirmation operating
                                                                     4
                                                                         reports, analysis of disbursements to identify amounts paid by the estate of the related bankruptcy
                                                                     5
                                                                         case of William James Del Biaggio III (Case No. 08-3099) on behalf of the Debtor, calculation and
                                                                     6
                                                                         payment of quarterly U.S. Trustee fees, reconcilation of bank account activity, research, evaluation,
                                                                     7
                                                                         analysis and resolution of various unresolved and/or outstanding claims and update of claims
                                                                     8
                                                                         analysis, evaluation of estate assets and liabilities and preparation of projected distribution amounts,
                                                                     9
                                                                         and preparation and review of fee applications for periods prior to confirmation of the Chapter 11
                                                                    10
                                                                         Trustee’s and Official Committee of Unsecured Creditors’ Joint Plan of Liquidation, dated May
                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                         2011 (the “Plan”).
                                                                    12
                                        SAN FRANCISCO, CALIFORNIA




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                                            ATTORNEYS AT LAW




                                                                                PLEASE TAKE FURTHER NOTICE that pursuant to the Court approved Plan, the
                                                                    14
                                                                         Accountants are not required to file a fee application in order to receive compensation but are to
                                                                    15
                                                                         “provide at least seven (7) days’ notice of all fees and expenses incurred to all parties who have
                                                                    16
                                                                         requested notice in the applicable BDB Debtor’s Chapter 11 Case.” Accordingly, by way of this
                                                                    17
                                                                         Notice, the Accountants are providing the requisit notice of the fees and expenses incurred and will
                                                                    18
                                                                         be paid the requested amounts absent an objection. Any party who objects to the relief requested in
                                                                    19
                                                                         this Notice must file and serve the objection upon the undersigned at the address set forth below
                                                                    20
                                                                         within seven (7) days of mailing of this Notice.
                                                                    21
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                                                                                                                             2                NOTICE OF REQUEST FOR COMPENSATION
                                                                     Case: 08-31001 59914/006
                                                                        DOCS_SF:90552.2 Doc# 265       Filed: 04/26/16      Entered: 04/26/16 13:55:55 Page 2 of 3
                                                                                  PLEASE TAKE FURTHER NOTICE that if there is no timely opposition, the
                                                                     1
                                                                         Accountants will receive the compensation requested without further notice or order of the Court.
                                                                     2
                                                                                  Copies of any response, objection, or request for hearing shall be served upon the following
                                                                     3
                                                                         parties at the addresses below:
                                                                     4

                                                                     5   Miriam Manning
                                                                         Pachulski Stang Ziehl & Jones LLP
                                                                     6   150 California Street, 15th Floor
                                                                         San Francisco, California 94111-4500
                                                                     7

                                                                     8            Date of Mailing: April 26, 2016

                                                                     9   Dated:    April 26, 2016                      PACHULSKI STANG ZIEHL & JONES LLP

                                                                    10
                                                                                                                       By      /s/ Miriam Manning
                                                                    11                                                         Miriam Manning
                                                                                                                               Attorneys for Matthew K. Babcock,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                                         Successor Plan Representative
                                        SAN FRANCISCO, CALIFORNIA




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                                            ATTORNEYS AT LAW




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                                                                                                                             3                NOTICE OF REQUEST FOR COMPENSATION
                                                                     Case: 08-31001 59914/006
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